Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 1 of 23




                    Exhibit 3
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 2 of 23



 1   Roger J. Grant, Esq. (State Bar No. 146463)                        Electronically Filed
     Charles M. Litt, Esq. (State Bar No. 178401)                       by Superior Court of CA,
 2   John J. Stander, Esq. (State Bar No. 168392)                       County of Santa Clara,
     FENTON GRANT MAYFIELD KANEDA & LITT, LLP                           on 4/4/2018 2:58 PM
 3
     1910 Olympic Boulevard, Suite 250                                  Reviewed By: R. Walker
 4   Walnut Creek, CA 94596                                             Case #17CV314037
     Tel: (925) 357-3135 / Fax: (925) 705-4743                          Envelope: 1379411
 5
     Attorneys for Plaintiff
 6
     AXIS HOMEOWNERS ASSOCIATION
 7

 8                                SUPERIOR COURT OF CALIFORNIA

 9                          IN AND FOR THE COUNTY OF SANTA CLARA
10

11   AXIS HOMEOWNERS ASSOCIATION, a                         Case No.: 17CV314037
     California nonprofit mutual benefit corporation,
12                                                          Assigned for All Purposes to:
                                                            Hon. Thomas E. Kuhnle, Dept 5
13                                                          (Complex Civil Litigation)
                            Plaintiff,
14                                                          [Complaint filed: December 18, 2017]
     v.
15                                                          SECOND AMENDED COMPLAINT
                                                            FOR:
16
     ALMADEN TOWER VENTURE, LLC, a                             1. BREACH OF EXPRESS
17   California limited liability company; WEBCO                  WARRANTIES;
     CONSTRUCTION           LP,     DBA WEBCO                  2. BREACH OF IMPLIED
18   BUILDERS, a California corporation; and DOES                 WARRANTIES;
     1 through 400 inclusive,                                  3. VIOLATION OF STATUTE
19                                                                (CIVIL CODE § 896, ET SEQ.);
                                                                  AND
20                                                             4. BREACH OF DECLARATION OF
                            Defendants.                           COVENANTS, CONDITIONS,
21                                                                AND RESTRICTIONS

22
23          Plaintiff AXIS HOMEOWNERS ASSOCIATION, a California nonprofit mutual benefit

24   corporation (hereinafter "Plaintiff'' or "Association"), alleges as follows:
25          1.      At all times pertinent hereto Plaintiff was and is incorporated as a California nonprofit

26   mutual benefit corporation established as a common interest development as described in Civil Code

27   sections 4080, 4100, and 5980, with its principle place of business within the County of Santa Clara,

28   State of California.

                                                        1
                                         SECOND AMENDED COMPLAINT
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 3 of 23



 1           2.     The Association is comprised of owners of condominium units, buildings,

 2   improvements, structures and other fixtures built and existing upon certain parcels of real property

 3   all as more particularly described in the Declaration of Covenants and Restrictions Establishing a

 4   Plan for Condominium Ownership for Axis, recorded with the Santa Clara County Recorder, State

 5   of California, on December 31, 2007, as Document No. 19698254, and all subsequent amendments

 6   and corrections thereto, (hereafter "CC&Rs") as follows:

 7           All that real property located in the City of San Jose, County of Santa Clara, State of
             California, more particularly described as Parcel A of Tract No. 9802 on that certain
 8           Map filed for record on July 7th , 2006, in Book 803 of Maps, Pages 21 and 22, in the
             Office of the Recorder of Santa Clara County, California.
 9

10           3.     The Association oversees the day to day management, maintenance and operation of

11   the Axis common interest condominium development (hereinafter "Condominium Development".)

12           4.     Plaintiff is informed and believes and based thereon alleges that by the express terms

13   of its governing documents as defined by Civil Code section 4150, and pursuant to Civil Code

14   sections 945, 4775, and 5980, and Code of Civil Procedure section 382, Plaintiff is granted the

15   general authority and responsibility to bring the herein stated claims as a direct action on its own

16   behalf and additionally in a representative capacity on behalf of all owners of condominium units

17   within the Condominium Development.

18           5.     Plaintiff is informed and believes and based thereon alleges that Plaintiff, in

19   accordance with its governing documents, has the right and duty to manage, operate, control, repair,

20   replace and restore the Condominium Development, including the right to enter into contracts to

21   accomplish its duties and obligations, and has all of the powers necessary to carry out its rights and

22   obligations, including the right, duty, and power to contract for legal services to prosecute any action

23   affecting the Association and/or its membership when such action is deemed by it to be necessary

24   to enforce its powers, rights and obligations, or those of its membership, including the bringing of

25   this action.

26           6.     Plaintiff is informed and believes and based thereon alleges that pursuant to Code of

27   Civil Procedure section 382 and Civil Code sections 945, 4775, and 5980, Plaintiff seeks damages

28   for defects in the construction and/or development of the Condominium Development which consist

                                                        2
                                       SECOND AMENDED COMPLAINT
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 4 of 23



 1   of but are not limited to defects in construction affecting: 1) All real property and/or improvements

 2   thereon which are owned by the Association; 2) Association common areas; and 3) Separate interests

 3   which the Association is obligated to maintain or repair; and all other components, fixtures, or

 4   improvements at the Condominium Development that are within the Associations common and/or

 5   general interest, including without limitation separate interest components, fixtures, or

 6   improvements therein that may be owned and/or occupied by the Association's membership, but

 7   that are within the Association's common and/or general interest and standing within the meaning

 8   of Code of Civil Procedure section 382, and/or Civil Code sections 945, or 5980.

 9           7.     Plaintiff is informed and believes and based thereon alleges that, at all times relevant

10   hereto, Defendant ALMADEN TOWER VENTURE, LLC (hereinafter "ALMADEN TOWER

11   VENTURE") was engaged and doing business in the County of Santa Clara, State of California,

12   including but not limited to, development, construction, improvement, marketing and/or sale of mass

13   produced housing generally and inter alia, the Condominium Development, specifically.

14           8.     Plaintiff is informed and believes, thereon alleges that, at all times herein mentioned,
                            i

15   Defendant WEBCOR CONSTRUCTION LP, DBA WEBCOR BUILDERS (hereinafter

16   "WEBCOR"), a California corporation was engaged and doing business in the County of Santa

17   Clara, State of California including but not limited to development, conversion, supervision,

18   construction and/or improvements of the Condominium Development. Plaintiff is informed and

19   believes and based thereon alleges that WEBCOR is the entity who retained, employed and/or

20   contracted for the services of certain persons or entities to plan, design, provide for labor and

21   materials in the conversion, construction, and/or improvements of the Condominium Development,

22   and as such, WEBCOR was acting in the capacity of General Contractor for the Condominium

23   Development.

24          9.      Plaintiff is informed and believes and based thereon alleges that Defendant DOES 1

25   through 400, inclusive, whether individual, corporate, associate or otherwise are sued by these

26   fictitious names and whose true names and capacities, at this time, are unknown to Plaintiff. Plaintiff

27   is informed and believes and thereupon alleges that at all times herein mentioned each of the

28   Defendants sued herein as DOES 1 through 400 was the agent, servant, and employee of his, her or

                                                       3
                                       SECOND AMENDED COMPLAINT
            Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 5 of 23



   1   its co-Defendants, and in doing the things hereinafter mentioned was acting in the scope of his, her

  2    or its authority as such agent, servant, and employee, and with the permission, consent and/or

   3   ratification of his, her or its co-Defendants; and that each of said fictitiously named Defendants,

  4    whether an individual, corporation, association, or otherwise, is in some way liable or responsible

  5    to the Plaintiff on the facts hereinafter alleged, and caused injuries and damages proximately thereby

  6    as hereinafter alleged. At such time as Defendants' true names become known to Plaintiff, Plaintiff

  7    will amend this Complaint to insert said true names and capacities.

  8            10.    Plaintiff is informed and believes and based thereon alleges that Defendant DOES 1

  9    through 10, and 350 through 400, inclusive, are, and at all times herein mentioned were, individuals,

 10    and/or corporations and/or other business entities organized and existing under the laws of the State

· 11   of California, with their principal places of business in the State of California.

 12            11.    Plaintiff is informed and believes and based thereon alleges that there exists, and at

 13    all times herein mentioned there existed, a unity of interest and ownership between Defendant

 14    ALMADEN TOWER VENTURE, and Defendant DOES 1 through 10 and 301 through 400,

 15    inclusive, such that any individuality and separateness between Defendant ALMADEN TOWER

 16    VENTURE, and Defendant DOES 1 through 10, and 301 through 400, inclusive have for the

 17    purposes of the within claims ceased to exist, and Defendant ALMADEN TOWER VENTURE, and

 18    Defendant DOES 1 through 10, and 301 through 400, inclusive, are, for the purposes of the within

 19    claims, the alter egos of one another.

 20            12.    Plaintiff is informed and believes and thereupon alleges that adherence to the fiction

 21    of the separate existence of the Defendant DOES 1 through 10, and 301 through 400, inclusive, as

 22    persons or entities distinct from Defendant ALMADEN TOWER VENTURE, or one another, would

 23    permit an abuse of the corporate privilege and would promote injustice and sanction fraud.

 24            13.    Plaintiff is informed and believes and based thereupon alleges that Defendant

25     ALMADEN TOWER VENTURE and DOES 301 through 350, inclusive, are and at all times herein

26     mentioned were, mere shells, shams, or alter egos, without necessary insurance, capital, assets, stock,

27     or stockholders, and that Defendant DOES 1 through 10 and 351 through 400, inclusive, conceived,

28     intended and used the above-alleged sham entities/structure to avoid individual liability and/or for

                                                          4
                                         SECOND AMENDED COMPLAINT
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 6 of 23



 1   the purpose of substituting financially inadequate corporations and/or other business entities, or

 2   individuals in the place of Defendant DOES 1 through 10 and 351 through 400, inclusive.

 3           14.    Plaintiff is informed and believes and based thereupon alleges that at no time after

 4   Defendant ALMADEN TOWER VENTURE, and DOES 301 through 350, inclusive, became

 5   incorporated and/or were established and/or formed, were adequate stock or membership interests

 6   in same authorized to be issued, nor was any permit for issuance of stock or membership interests

 7   applied for with the Commissioner of Corporations, nor were other required corporate or other

 8   formalities followed.

 9           15.    Plaintiff is informed and believes and based thereupon alleges that Defendant

10   ALMADEN TOWER VENTURE, and DOES 301 through 350, inclusive, are, and at all times herein

11   mentioned were, so inadequately insured, capitalized and managed, that, compared with the business

12   to be done by the Defendant ALMADEN TOWER VENTURE, and Defendant DOES 301 through

13   350, inclusive, and the risks ofloss attendant thereon, such capitalization was illusory.

14           16.    Plaintiff is informed and believes and based thereon alleges that Defendant

15   ALMADEN TOWER VENTURE, and Defendant DOES 301 through 350, inclusive, are, and at all

16   times herein mentioned were, controlled, dominated, and operated by Defendant DOES 1 through

17   10 and 351 through 400, inclusive, as their individual businesses and alter egos, in that the activities

18   and business of Defendant ALMADEN TOWER VENTURE, and Defendant DOES 301 through

19   350, inclusive, corporations were carried out without the holding of directors' or shareholders'

20   meetings, without adequate records or minutes of any corporate proceedings, and without necessary

21   formalities, and furthermore that Defendant ALMADEN TOWER VENTURE, and Defendant

22   DOES 301 through 350, inclusive, entered into personal transactions with Defendant DOES 1

23   through 10 and 300 through 350, inclusive, without the approval of other directors or shareholders.

24           17.    Plaintiff is informed and believes and based thereon alleges that as a direct and

25   proximate result of the conduct herein alleged Plaintiff has suffered damages in an amount precisely

26   unknown, but believed to be within the jurisdiction of this court in that it has been and will hereafter

27   be required to perform investigations and works of repair, restoration, and construction to the

28   Condominium Development to prevent further damage and to restore project structures and

                                                        5
                                       SECOND AMENDED COMPLAINT
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 7 of 23



 1   improvements to their proper condition and/or will suffer damages in an amount the full nature and

 2   extent of which shall be ascertained according to proof at trial.

 3           18.     Plaintiff is informed and believes and based thereon alleges that as a direct and

 4   proximate result of the conduct herein alleged there exists a unity of interest and ownership between

 5   Defendant ALMADEN TOWER VENTURE, and Defendant DOES 1 through 10 and 301 through

 6   400, inclusive, such that any individuality and separateness between Defendant ALMADEN

 7   TOWER VENTURE and Defendant DOES 1 through 10 and 301 through 400, inclusive, have for

 8   the purposes of the within claims ceased to exist, and any adherence to the fiction of the separate

 9   existence of the Defendant DOES 1through10 and 301 through 400, inclusive, as persons or entities

10   distinct from Defendant ALMADEN TOWER VENTURE or one another, would permit an abuse

11   of the corporate privilege and would promote injustice and sanction fraud.

12           19.    Plaintiff is informed and believes and based thereon alleges that Defendant

13   ALMADEN TOWER VENTURE, and Defendant DOES 1 through 10 and 301 through 400,

14   inclusive, are, for the purposes of the within claims, the alter egos of one another and no distinction

15   can equitably be made or separateness or individuality be adjudged to exist between or among them

16   for the purposes of the prosecution of the within claim or entry of any award herein.

17                                                     I.
18                                      FIRST CAUSE OF ACTION

19                                     (Breach of Express Warranties)

20                     [Against Defendant ALMADEN TOWER VENTURE, LLC;

21                                       and DOES 1 to 10, inclusive]

22          20.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 19, inclusive,

23   as though fully set forth again herein.

24          21.     Plaintiff is informed and believes and based thereon alleges that Defendants, and each

25   of them, expressly warranted through sales brochures of the subject premises, related advertising

26   circulars and materials, the Association's governing documents, contracts of sale, disclosure

27   documents, and related sales warranty information regarding the subject premises, that the

28   Condominium Development and components therein were designed, manufactured and constructed

                                                       6
                                       SECOND AMENDED COMPLAINT
          Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 8 of 23



 1   free of defects and in a commercially reasonable manner, fit for their intended residential purposes

 2   when Defendants, and each of them, offered the units of the Condominium Development and

 3   components thereof for sale to the general public for use as residences.

 4           22.    Plaintiff is informed and believes and based thereon alleges that Plaintiff and its

 5   members relied on Defendants, and each of their express representations that these units and

 6   components therein were designed, manufactured and constructed as warranted, free of defects,

 7   compliant with applicable codes and ordinances, in a commercially reasonable manner, and

 8   reasonably fit for their intended residential purposes.

 9          23.     Plaintiff is informed and believes and based thereon alleges that Defendants and each

10   of them, breached these express warranties by manufacturing and/or selling the condominium units

11   of the Condominium Development with the above-described deficiencies in the design,

12   specification, planning, supervision, development, improvement, and repair of the Condominium

13   Development.

14          24.     Plaintiff is informed and believes and based thereon alleges that Plaintiff served its

15   Notice to Builder pursuant to Civil Code section 910, in the within matter, on or about March 8,

16   2012, and all statutes of limitations and repose have been tolled from that date forward, per

17   stipulation of the parties. Plaintiff is informed and believes that such date is well within four (4)

18   years of when Plaintiff knew or in the exercise of reasonable care should have known of the within

19   alleged misfeasance.

20          25.     Plaintiff is informed and believes and based thereon alleges that as a direct and

21   proximate result of the breach of the express warranties by Defendants, and each of them, as

22   hereinabove alleged Plaintiff and its members suffered damages stemming from the failure of the

23   real property and structures thereon, including without limitation, project curtain walls, windows,

24   doors, parking garage, parking structure, balcony decks, unit interiors, common areas, garage walls,

25   floors and waterproofing, fire resistive systems, roofs, electrical systems, plumbing systems and

26   mechanical systems as herein set forth.

27          26.     Plaintiff is informed and believes and based thereon alleges that as a direct and

28   proximate result of the breaches set forth herein, Plaintiff has suffered damages in an amount

                                                       7
                                      SECOND AMENDED COMPLAINT
           Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 9 of 23



 1   precisely unknown, but believed to be within the jurisdiction of this court in that it has been and will

 2   hereafter be required to perform investigations and works of repair, restoration, and construction to

 3   portions of the structures to prevent further damage and to restore the structures to their proper
       \
 4   condition and/or will suffer damages in an amount the full nature and extent of which shall be

 5   ascertained according to proof at trial.

 6                                                     a
 7                                     SECOND CAUSE OF ACTION

 8                                     (Breach of Implied Warranties)

 9                     [Against Defendant ALMADEN TOWER VENTURE, LLC;

10                                       and DOES 1 to 10, inclusive]

11           27.    Plaintiff realleges and incorporates by reference Paragraphs 1 through 26, inclusive,

12   as though fully set forth again herein.

13           28.    Plaintiff is informed and believes and based thereon alleges Defendants that pursuant

14   to controlling California authority, as developers, builders and sellers of the within Condominium

15   Development, and improvements therein, Defendants, and each of them, impliedly warranted that

16   the Condominium Development and components thereof were designed, and constructed in a

17   commercially reasonable, good and workmanlike manner, free of defects and suitable for their

18   intended residential purpose when Defendants, and each of them, offered the Condominium

19   Development and components thereof for sale to the general public for use as residences.

20           29.    Plaintiff is informed and believes and based thereon alleges that Plaintiff and its

21   members relied on Defendants, and each of their implied representations that these units and

22   components therein were designed, manufactured and constructed as impliedly warranted, free of

23   defects and in a commercially reasonable manner, and reasonably fit for their intended residential

24   purposes.

25           30.    Plaintiff is informed and believes and based thereon alleges that notwithstanding the

26   foregoing·implied warranties, the Condominium Development and subject structures, components,

27   and improvements therein were not constructed in a commercially reasonable, good and

28   workmanlike manner, free of defects and suitable for their intended residential purpose all as herein

                                                        8
                                       SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 10 of 23



 1   described, but instead, were and are affected by defects in project curtain walls, windows, doors,

 2   parking garage, parking structure, balcony decks, unit interiors, common areas, garage walls, floors

 3   and waterproofing, fire resistive systems, roofs, electrical systems, plumbing systems, and

 4   mechanical systems, as herein set forth.

 5           31.    Plaintiff is informed and believes and based thereon alleges that Plaintiff served its

 6   Notice to Builder pursuant to Civil Code section 910, in the within matter, on or about March 8,

 7   2012, and all statutes of limitations and repose have been tolled from that date forward, per

 8   stipulation of the parties. Plaintiff is informed and believes that such date is well within four (4)

 9   years of when Plaintiff knew or in the exercise of reasonable care should have known of the within

10   alleged misfeasance.

11          32.     Plaintiff is informed and believes and based thereon alleges that as a direct and

12   proximate result of the breaches set forth herein, Plaintiff has suffered damages in an amount

13   precisely unknown, but believed to be within the jurisdiction of this court in that it has been and will

14   hereafter be required to perform investigations and works of repair, restoration, and construction to

15   portions of the structures to prevent further damage and to restore the structures to their proper

16   condition and/or will suffer damages in an amount the full nature and extent of which shall be

17   ascertained according to proof at trial.

18                                                     III.
19                                      TIDRD CAUSE OF ACTION

20                               (Violation of Civil Code Section 896, et seq.)

21                                         [Against all Defendants]

22          33.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 32, inclusive,

23   as though fully set forth again herein.

24          34.     Plaintiff is informed and believes and based thereon alleges that at the time and place

25   of the within plead development of the Condominium Development by Defendants, there was in

26   effect, California Civil Code § 896 which provides as follows:

27                  "In any action seeking recovery of damages arising out of, or related
                    to deficiencies in, the residential construction, design, specifications,
28

                                                        9
                                       SECOND AMENDED COMPLAINT
     Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 11 of 23



 1           surveying, planning, superv1s10n, testing, or observation of
             construction, a builder, and to the extent set forth in Chapter 4
 2           (commencing with Section 910), a general contractor, subcontractor,
             material supplier, individual product manufacturer, or design
 3           professional, shall, except as specifically set forth in this title, be liable
             for, and the Plaintiffs claims or causes of action shall be limited to
 4           violation of, the following standards, except as specifically set forth
             in this title. This title applies to original construction intended to be
 5           sold as an individual dwelling unit. As to condominium conversions,
             this title does not apply to or does not supersede any other statutory or
 6           common law.
 7
                     (a)     With respect to water issues:
 8
                               (1) A door shall not allow unintended water to pass
 9           beyond, around, or through the door or its designed or actual moisture
             barriers, if any.
10

11                           (2) Windows, patio doors, deck doors, and their
             systems shall not allow water to pass beyond, around, or through the
12           window, patio door, or deck door or its designed or actual moisture
             barriers, including, without limitation, internal barriers within the
13           systems themselves. For purposes of this paragraph, "systems"
             include, without limitation, windows, window assemblies, framing,
14           substrate, flashings, and trim, if any.

15
                            (3) Windows, patio doors, deck doors, and their
16           systems shall not allow excessive condensation to enter the structure
             and cause damage to another component. For purposes of this
17           paragraph, "systems" include, without limitation, windows, window
             assemblies, framing, substrate, flashings, and trim, if any.
18
                             (4) Roofs, roofing systems, chimney caps, and
19           ventilation components shall not allow water to enter the structure or
             to pass beyond, around, or through the designed or actual moisture
20           barriers, including, without limitation, internal barriers located within
             the systems themselves. For purposes of this paragraph, "systems"
21           include, without limitation, framing, substrate, and sheathing, if any.
22
                              (5) Decks, deck systems, balconies, balcony systems,
23           exterior stairs, and stair systems shall not allow water to pass into the
             adjacent structure. For purposes of this paragraph, "systems"
24           include, without limitation, framing, substrate, flashing, and
             sheathing, if any.
25

26                            (6) Decks, deck systems, balconies, balcony systems,
             exterior stairs, and stair systems shall not allow unintended water to
27           pass within the systems themselves and cause damage to the systems.
             For purposes of this paragraph, "systems" include, without limitation,
28           framing, substrate, flashing, and sheathing, if any.

                                                  10
                                SECOND AMENDED COMPLAINT
     Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 12 of 23



 1
                            (7) Foundation systems and slabs shall not allow water
 2           or vapor to enter into the structure so as to cause damage to another
             building component.
 3
                             (8) Foundation systems and slabs shall not allow water
 4           or vapor to enter into the structure so as to limit the installation of the
             type of flooring materials typically used for the particular application.
 5

 6                            (9) Hardscape, including paths and patios, irrigation
             systems, landscaping systems, and drainage systems, that are installed
 7           as part of the original construction, shall not be installed in such a way
             as to cause water or soil erosion to enter into or come in contact with
 8           the structure so as to cause damage to another building component.

 9                           (10) Stucco, exterior siding, exterior walls, including,
             without limitation, exterior framing, and other exterior wall finishes
10           and fixtures and the systems of those components and fixtures,
             including, but not limited to, pot shelves, horizontal surfaces,
11           columns, and plant-ons, shall be installed in such a way so as not to
             allow unintended water to pass into the structure or to pass beyond,
12           around, or through the designed or actual moisture barriers of the
             system, including any internal barriers located within the system
13           itself. For purposes of this paragraph, "systems" include, without
             limitation, framing, substrate, flashings, trim, wall assemblies, and
14           internal wall cavities, if any.
15
                            (11) Stucco, exterior siding, and exterior walls shall
16           not allow excessive condensation to enter the structure and cause
             damage to another component. For purposes of this paragraph,
17           "systems" include, without limitation, framing, substrate, flashings,
             trim, wall assemblies, and internal wall cavities, if any.
18
                            (12) Retaining and site walls and their associated
19           drainage systems shall not allow unintended water to pass beyond,
             around, or through its designed or actual moisture barriers including,
20           without limitation, any internal barriers, so as to cause damage. This
             standard does not apply to those portions of any wall or drainage
21           system that are designed to have water flow beyond, around, or
             through them.
22
23                          (13) Retaining walls and site walls, and their
             associated drainage systems, shall only allow water to flow beyond,
24           around, or through the areas designated by design.

25
                           (14) The lines and components of the plumbing
26           system, sewer system, and utility systems shall not leak.

27                          (15) Plumbing lines, sewer lines, and utility lines shall
             not corrode so as to impede the useful life of the systems.
28

                                                 11
                                SECOND AMENDED COMPLAINT
     Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 13 of 23



 1
                            (16) Sewer systems shall be installed in such a way as
 2           to allow the designated amount of sewage to flow through the system.

 3                          (17) Showers, baths, and related waterproofing
             systems shall not leak water into the interior of walls, flooring
 4
             systems, or the interior of other components.

 5                           (18) The waterproofing system behind or under
             ceramic tile and tile countertops shall not allow water into the interior
 6           of walls, flooring systems, or other components so as to cause damage.
             Ceramic tile systems shall be designed and installed so as to deflect
 7           intended water to the waterproofing system.
 8
                     (b) With respect to structural issues:
 9
                           (1) Foundations, load bearing components, and slabs,
10           shall not contain significant cracks or significant vertical
             displacement.
11
                            (2) Foundations, load bearing components, and slabs
12
             shall not cause the structure, in whole or in part, to be structurally
13           unsafe.

14                           (3) Foundations, load bearing components, and slabs,
             and underlying soils shall be constructed so as to materially comply
15           with the design criteria set by applicable government building codes,
             regulations, and ordinances for chemical deterioration or corrosion
16
             resistance in effect at the time of original construction.
17

18                           (4) A structure shall be constructed so as to materially
             comply with the design criteria for earthquake and wind load
19           resistance, as set forth in the applicable government building codes,
             regulations, and ordinances in effect at the time of original
20           construction.

21                   (c)     With respect to soil issues:

22                          (1) Soils and engineered retaining walls shall not
             cause, in whole or in part, damage to the structure built upon the soil
23           or engineered retaining wall.

24
                            (2) Soils and engineered retaining walls shall not
             cause, in whole or in part, the structure to be structurally unsafe.
25

26                           (3) Soils shall not cause, in whole or in part, the land
             upon which no structure is built to become unusable for the purpose
27           represented at the time of original sale by the builder or for the purpose
             for which that land is commonly used.
28
                                                12
                                SECOND AMENDED COMPLAINT
           Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 14 of 23



 1                         (d) With respect to fire protection issues:
 2                                  (1) A structure shall be constructed so as to materially
                   comply with the design criteria of the applicable government building
 3                 codes, regulations, and ordinances for fire protection of the occupants
 4                 in effect at the time of the original construction.

 5                                 (2) Fireplaces, chimneys, chimney structures, and
                   chimney termination caps shall be constructed and installed in such a
 6                 way so as not to cause an unreasonable risk of fire outside the fireplace
                   enclosure or chimney.
 7
 8                                (3) Electrical and mechanical systems shall be
                   constructed and installed m such a way so as not to cause an
 9                 unreasonable risk of fire.
10
                           (e) With respect to plumbing and sewer issues:
11
                           Plumbing and sewer systems shall be installed to operate
12                 properly and shall not materially impair the use of the structure by its
                   inhabitants. However, no action may be brought for a violation of this
13
                   subdivision more than four years after close of escrow.
14
                          (f) With respect to electrical system issues:
15
                           Electrical systems shall operate properly and shall not
16                 materially impair the use of the structure by its inhabitants. However,
                   no action shall be brought pursuant to this subdivision more than four
17                 years from close of escrow.
18
                          (g) With respect to issues regarding other areas of
19                 construction:

20                                (1) Exterior pathways, driveways, hardscape,
                   sidewalls, sidewalks, and patios installed by the original builder shall
21
                   not contain cracks that display significant vertical displacement or that
22                 are excessive. However, no action shall be brought upon a violation
                   of this paragraph more than four years from close of escrow.
23
                                   (2) Stucco, exterior siding, and other exterior wall
24                 finishes and fixtures, including, but not limited to, pot shelves,
                   horizontal surfaces, columns, and plant-ons, shall not contain
25                 significant cracks or separations.
     Ill
26
27   Ill

28   Ill

                                                      13
                                     SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 15 of 23



 1                                   (3)   (A) To the extent not otherwise covered by
                    these standards, manufactured products, including, but not limited to,
 2                  windows, doors, roofs, plumbing products and fixtures, fireplaces,
                    electrical fixtures, HVAC units, countertops, cabinets, paint, and
 3                  appliances shall be installed so as not to interfere with the products'
                    useful life, if any.
 4
                                            (B) For purposes of this paragraph, "useful
 5                  life" means a representation of how long a product is warranted or
                    represented, through its limited warranty or any written
 6                  representations, to last by its manufacturer, including recommended
                    or required maintenance. If there is no representation by a
 7                  manufacturer, a builder shall install manufactured products so as not
                    to interfere with the product's utility."
 8

 9          35.     Plaintiff is informed and believes and based thereon alleges that at the time and place

1O   of the within plead development of the Condominium Development, Defendants were in violation

11   of the aforesaid statute in that they, inter alia, constructed the Condominium Development with

12   defects/deficiencies and/or violations of the minimum standards of Civil Code§ 896, including but

13   not limited to the following: the curtain wall system; the parking garage, including walls, floors and

14   structural walls therein; the balcony deck systems; the podium systems; the building base exterior

15   surfaces; common areas and condominium interiors; garage systems, floors and walls, underground

16   garage waterproofing; plaza deck areas and assemblies; fire resistive construction; roofing systems;

17   electrical systems; and plumbing and mechanical systems. The forgoing is an illustrative list, and is

18   not intended to be a complete list of the many breaches of the functionality standards that exist.

19          36.     Plaintiff is informed and believes and based thereon alleges that as a result of the

20   foregoing errors and/or omissions, Plaintiff was damaged and injured in that the pertinent

21   components were and are affected by the foregoing multiple and significant defects, deficiencies,

22   and deviations from the codified requirements, and resultant damages arising therefrom.
                                                                                          '
23          37.     Plaintiff is informed and believes and based thereon alleges that the above plead

24   provisions of California Civil Code § 896 were designed to prevent the incidence or occurrence of

25   the type of misfeasance and resulting damages and injuries herein alleged to the class of persons

26   herein alleged to have suffered same, in that the foregoing was enacted to provide for minimum

27   standards of construction applicable to residential construction and was intended to prevent the

28   construction and development of substandard, deficient, and/or defective residential construction

                                                       14
                                      SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 16 of 23



 1   and resulting damages to the owners thereof and/or the membership of a homeowners association

 2   created for the management and governance of a residential common interest development such as

 3   the within Plaintiff Association and its membership.

 4           38.    In addition, Civil Code § 897, provides as follows:

 5                 "The standards set forth in this chapter are intended to address every
                   function or component of a structure. To the extent that a function or
 6                 component of a structure is not addressed by these standards, it shall
                   be actionable if it causes damage" (emphasis added).
 7

 8           39.    To the extent not encompassed within the foregoing minimum standards provided for

 9   by Civil Code §896, Plaintiff is informed and believes and based thereon alleges that the above-

10   plead deficiencies in construction effected by Defendants herein, additionally resulted in actual

11   damages to the Plaintiff Association in that it has been and will hereafter be required to perform

12   investigations and works of repair, restoration, and construction to portions of the Condominium

13   Development to prevent further damage and to restore the structures to their proper and/or bargained

14   for condition, and incur related storage and relocation expenses and that any such damages are

15   recoverable pursuant to the foregoing provision of Civil Code § 897.

16           40.    With respect to recoverable damages based on the within plead violations and/or

17   deviations, California Civil Code § 944 provides that the following are properly recoverable

18   damages:

19                  " ... damages for the reasonable value of repairing any violation of the
                    standards set forth in this title, the reasonable cost of repairing any
20                  damages caused by the repair efforts, the reasonable cost of repairing
                    and rectifying any damages resulting from the failure of the home to
21                  meet the standards, the reasonable cost of removing and replacing any
                    improper repair by the builder, reasonable relocation and storage
22                  expenses, lost business income if the home was used as a principal
                    place of a business licensed to be operated from the home, reasonable
23                  investigative costs for each established violation, and all other costs
                    or fees recoverable by contract or statute."
24

25           41.    Plaintiff is informed and believes and based thereon alleges that the violation of the

26   above-plead provisions of California Civil Code §§ 896 and/or 897, directly and proximately caused

27   injury and damages to the Plaintiff, in an amount precisely unknown, but believed to be within the

28   jurisdiction of this court in that it has been and will hereafter be required to perform investigations

                                                       15
                                       SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 17 of 23



 1   and works of repair, restoration, and construction to portions of the Condominium Development to

 2   prevent further damage and to restore the structures to their proper and/or bargained for condition

 3   and/or to ensure compliance with the foregoing minimum standards set forth in California Civil Code

 4   § 896, and incur related storage and relocation expenses.

 5           42.     Plaintiff is informed and believes and based thereon alleges that Plaintiff has properly

 6   notified Defendants, and each of them, of the defective conditions of the subject property, and

 7   notwithstanding such notice, Defendants, and each of them, have failed to acknowledge

 8   responsibility for all of the same or otherwise cause the appropriate restoration and/or repair to be

 9   made to the structures at their cost and expense.

10           43.     Plaintiff is informed and believes and based thereon alleges that the items generally

11   referred to and particularly described herein were latent deficiencies in that the above-described

12   defects arose out of, were attributable to and are directly and proximately caused by the above-

13   described latent deficiencies in the design, specifications, planning, supervision, observation of

14   construction, construction, development and/or improvement of the subject premises and subject

15   structures, and that prior to the time when such latent defects were discovered by Plaintiff as set

16   forth herein, could not have been discovered by the exercise of reasonable diligence. Plaintiff, at all

17   times herein mentioned, relied on the skill of Defendants, and each of them, in producing

18   condominiums that are compliant with required minimum standards and reasonably fit for their

19   intended purpose.

20           44.     Plaintiff is informed and believes and based thereon alleges that Plaintiff is still not

21   fully aware of all of the causes, the full extent and possible legal significance of the results or causes

22   of the property conditions herein above-described due to the loss being continual and latent in nature,

23   and that further Plaintiff is an organization of lay individuals who have required expert consultations

24   to provide a review of the property conditions, is still not fully aware of all of the causes, the full

25   extent, and possible legal significance of these latent deficiencies, nor is Plaintiff fully informed of

26   the potential causes of the resultant distress due to the loss being continual and latent in nature.

27          45.     Plaintiff is informed and believes and based thereon alleges that Defendants, and each

28   of them, ignored curing the causes of the defects and pursued a course of development and

                                                         16
                                        SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 18 of 23



 1   construction of the Condominium Development so as to increase their profit from the project at the

 2   expense of the ultimate purchaser in that said defects became latent defects, not apparent from a

 3   casual inspection.

 4             46.    Plaintiff is informed and believes and based thereon alleges that any and all repair

 5   attempts by Defendants, and each of them, failed to adequately correct said property damages and

 6   deficiencies thereby resulting in further damages caused thereby.

 7             47.    Plaintiff is informed and believes and based thereon alleges that instead of causing

 8   the necessary and required reconstruction and repair of the Condominium Development, Defendants

 9   have caused cosmetic, temporary and/or ineffective repairs to be made to various portions of the

1O   Condominium Development for the purpose of leading Plaintiff and its members to believe that

11   Defendants were resolving and correcting all deficiencies and/or, Defendants have represented to

12   Plaintiff that such repairs or an offer to make such repairs was and is pending. By virtue of such

13   conduct, Defendants are estopped to assert that the Plaintiff has not commenced this action in a

14   timely fashion and are further estopped to assert that the Plaintiff may not seek the damages herein

15   sought.

16             48.    Plaintiff is informed and believes and based thereon alleges that as a direct and

17   proximate result of the defects set forth herein, Plaintiff has suffered damages in an amount precisely

18   unknown, but believed to be within the jurisdiction of this court in that it has been and will hereafter

19   be required to perform works of repair, restoration, and construction to portions of the structures to

20   prevent further damages and to restore the structures to their proper condition. Plaintiff will establish

21   the precise amount of such damages at trial, according to proof, for the following damages:

22                    a.      For the costs of correction of the problems, specifically expert investigation,

23             redesign and reconstruction of the problems, including but not limited to those set forth

24             herein, and for which Plaintiff has suffered and/or will suffer damages in an amount the full

25             nature and extent of which shall be ascertained according to proof at trial;

26                    b.      For out of pocket costs and expenses incurred and for general and

27             consequential damages to the real property and structures thereon which are the

28             legal/proximate consequence of the problems, including but not limited to those set forth

                                                         17
                                         SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 19 of 23



 1          herein, and for which Plaintiff has suffered or will suffer damages in an amount the full

 2          nature and extent of which shall be ascertained according to proof at trial;

 3                      C.     For diminution in value which is the legal/proximate result of the problems,

 4          including but not limited to those specified herein, and for which Plaintiff has suffered

 5          and/or will suffer damages in an amount the full nature and extent of which shall be

 6          ascertained according to proof at trial;

 7                      d.     For lost or diminished rental income which is the legal/proximate

 8          consequence of the problems, including but not limited to those specified herein, for which

 9          Plaintiff has suffered and/or will suffer damages the full nature and extent of which shall

10          be ascertained according to proof at trial;

11                      e.     For relocation costs and related costs when repairs are effectuated, which is

12          the legal/proximate consequence of the problems, including but not limited to those

13          specified herein, for which Plaintiff has suffered and/or will suffer damages the full nature

14          and extent of which shall be ascertained according to proof at trial;

15                      f.     For certain repairs and expert investigation which were completed at

16          Plaintiffs expense which are the legal/proximate consequence of the problems, including

17          but not limited to those specified herein, and for which Plaintiff has suffered and/or will

18          suffer damages the full nature and extent of which shall be ascertained according to proof

19          at trial.

20          49.         Plaintiff is informed and believes and based thereon alleges the Defendants, and each

21   of them, whether developer, builder, contractor, subcontractor, supplier, material men, architect,

22   engineer or otherwise, negligently, carelessly, tortiously, and wrongfully failed to use reasonable

23   care in the analysis, preparation, design, manufacture, construction, material supply, or component

24   installation, of the Condominium Development and structures thereon, including without limitation,

25   curtain walls, windows, doors, parking garage, parking structure, balcony decks, unit interiors,

26   common areas, fire resistive systems, garage walls, floors and waterproofing, roofs, electrical

27   systems, plumbing systems, and mechanical systems, as herein set forth.

28          50.         Plaintiff is informed and believes and based thereon alleges the Defendants, and each

                                                         18
                                          SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 20 of 23



 1   of them, whether builder, contractor, subcontractor, supplier, material men, architect, engineer or
 2   otherwise, performed work, labor and/or services for the construction of the Condominium
 3   Development, and each knew or, in the exercise of reasonable care, should have known that if the
 4   Condominium Development was not properly or adequately designed, engineered, supervised,
 5   and/or constructed, that the owners and users would be substantially damaged thereby, and that the
 6   Condominium Development and condominium units, buildings, improvements and structures

 7   therein would be defective resulting in damages to Plaintiff.

 8           51.    Plaintiff is informed and believes and based thereon alleges that Defendants, and each
 9   of them were under a duty to exercise ordinary care as developers, builders, contractors,
10   subcontractors, suppliers, material men, architects, engineers, or otherwise to avoid reasonably
11   foreseeable injury to users and purchasers of the condominium units, buildings, improvements and

12   structures, and knew or should have foreseen with reasonable certainty that purchasers and/or users
13   would suffer the damages set forth herein if said Defendants, and each of them, failed to perform
14   their duty to cause the subject premises and subject structures to be designed, engineered, and

15   constructed in a proper workmanlike manner and fashion with the exercise of reasonable care.

16           52.    Plaintiff is informed and believes and based thereon alleges that in performing the

17   works of a builder and/or contractor, subcontractor, supplier, material men, architect, engineer or
18   otherwise, said Defendants, and each of them, failed and neglected to exercise reasonable care in
19   performing the work, labor and services properly or adequately in that each said Defendant so

20   negligently, carelessly and in an unworkmanlike manner performed the aforesaid work, labor and/or
21   services such that the subject premises and subject structures as described herein were designed,
22   engineered, and/or constructed defectively, improperly, negligently, carelessly and/or in an
23   unworkmanlike manner.

24           53.    Plaintiff is informed and believes and based thereon alleges that as a direct and
25   proximate result of the conduct described herein, Plaintiff has suffered damages in an amount
26   precisely unknown, but believed to be within the jurisdiction of this court in that it has been and will
27   hereafter be required to perform investigations and works of repair, restoration, and construction to
28   portions of the structures to prevent further damage and to restore the structures to their proper

                                                       19
                                       SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 21 of 23



 1   condition and/or will suffer damages in an amount the full nature and extent of which shall be

 2   ascertained according to proof at trial.

 3                                                    IV.

 4                                     FOURTH CAUSE OF ACTION

 5                  (Breach of Declaration of Covenants, Conditions and Restrictions) ,

 6                        [Against Defendant ALMADEN TOWER VENTURE,

 7                                   and DOES 1 through 10, inclusive]

 8          54.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 53, inclusive,

 9   as though fully forth again herein.

10          55.     On or about December 31, 2007, Defendants recorded a document entitled

11   "Declaration of Covenants and Restrictions Establishing a Plan for Condominium Ownership for

12   Axis" with the Santa Clara County Recorder, State of California, as Document No. 19698254. Said

13   document, together with all subsequent amendments and corrections thereto, are hereinafter referred

14   to as "CC&Rs". A true and correct copy of the CC&Rs is attached hereto as Exhibit "l".

15          56.     Plaintiff is informed and believes and based thereon alleges that the CC&Rs include

16   provisions that provide for and/or require, among other things, the following:

17                  a.      The CC&Rs shall be binding on all parties having any right, title, or interest

18          in the Condominium Development;

19                  b.      "Owner," as defined by the CC&Rs, refers to any person(s) or entity(ies)

20          who are alone or collectively the record holder of a fee simple title to a condominium unit

21          in the Condominium Development including the Defendants; and

22                  c.      The Association, or any Owner shall have the right to enforce by

23          proceedings at law or in equity, all restrictions, conditions, covenants, now or hereafter

24          imposed by the provisions of the CC&Rs, amendments thereto, bylaws and/or articles of

25          incorporation, including the right to prevent the violation of any such restrictions,

26          conditions, or reservations and the right to recover damages for such violations. ;

27          57.     Plaintiff is informed and believes and based thereon alleges, that at the time the

28   CC&Rs were recorded, Defendants, and/or each of them, were the "Owners" of all of the units of

                                                      20
                                       SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 22 of 23



 1   the Condominium Development.

 2           58.    Plaintiff is informed and believes and based thereon alleges that the CC&Rs further

 3   provide that the Association shall maintain and repair various project components including without

 4   limitation common areas and all structures, land and improvements thereon, including project

 5   curtain walls, windows, doors, parking garage, parking structure, balcony decks, unit interiors,

 6   common areas, garage walls, floors and waterproofing, fire resistive systems, roofs, electrical

 7   systems, plumbing systems, and mechanical systems.

 8           59.    Plaintiff is informed and believes and based thereon alleges that the CC&Rs provide

 9   that each owner shall pay assessments to the Association for the purpose of promoting the

10   Condominium Development's welfare, operating, improving, and maintaining the Association

11   property, and discharging any other Association obligations under the CC&Rs.

12           60.    Plaintiff is informed and believes and based thereon alleges that at the time the

13   CC&Rs were recorded, Defendants were owners of all of the units of the Condominium

14   Development and the only Members thereof, and in addition, at this time, Defendants and/or their

15   agents and/or employees constituted and thereby controlled the Association's entire board of

16   directors.

17           61.    Plaintiff is informed and believes and based thereon alleges that Defendants, and each

18   of them, breached the obligations and duties imposed upon them by the CC&Rs, at times pertinent,

19   as alleged herein, in that they inter alia: failed and/or refused to make necessary repairs to

20   Association maintained components or defects discovered therewith; failed to notify the subsequent

21   members of the Association of such defective conditions or their failures to remedy same; failed to

22                                '
     pay for damages they and/or their agents or employees caused to the Condominium Development;

23   and failed to initially budget, establish, pay, or collect reserves funds sufficient for the Plaintiff

24   Association to discharge its obligations as mandated by the Association CC&Rs, and completed

25   and/or represented that they would complete repairs sufficient to address defects affecting the

26   Condominium Project while failing·to do so.

27           62.    Plaintiff is informed and believes and based thereupon alleges that as a direct and

28   proximate result of the conduct herein alleged Plaintiff has suffered damages in an amount precisely

                                                      21
                                      SECOND AMENDED COMPLAINT
         Case 2:18-cv-00556-TSZ Document 15-5 Filed 11/21/18 Page 23 of 23



 1   unknown, but believed to be within the jurisdiction of this court in that it has been and will hereafter

 2   be required to perform investigations and works of repair, restoration, and construction to portions

 3   of the Condominium Development to prevent further damage and to restore the structures and

 4   improvements thereon to their proper condition, and has been underfunded and left with insufficient

 5   reserves to address the defects and deficiencies affecting the construction of the Condominium

 6   Development.

 7          63.     Plaintiff is entitled to recovery of reasonable attorney's fees pursuant to the

 8   provisions of the CC&Rs, and also pursuant to Civil Code§ 5975, which provides in pertinent part

 9   as follows:
                    "(c)    In an action to enforce the governing documents, the
10                  prevailing party shall be awarded reasonable attorney's fees and
11
                    costs." (Emphasi~ added).

12
            WHEREFORE, Plaintiff prays for an award herein as follows:
13
            1.      For general and special damages according to proof at trial;
14
            2.      For costs of suit and attorneys' fees incurred by Plaintiff herein; and
15
            3.      For such other and further relief as the Court may deem just and proper.
16

17
     Dated: March 14, 2018
18

19

20
                                            By:
21                                                 JOHN J.
                                                   Attorney or Plaintiff,
22                                                 AXIS HOMEOWNERS ASSOCIATION

23

24

25

26
27

28

                                                       22
                                       SECOND AMENDED COMPLAINT
